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Attorneys for Plaintiff and the Proposed Class

UNITED STATES DISTRICT COURT

FOR THE SOUTHERN pisicr OF CALIFORNIA

gy2094 MMA BLM
BOBBI SLEDGE, on behalf of herself and all Civi ase re
others similarly situated,

Plaintiff, | cass ACTION COMPLAINT’

y JURY TRIAL DEMAND

PROVIDE COMMERCE, INC.,

Defendant. | FILE BY FAX

 

 

Plaintiff Bobbi Sledge (“Plaintiff”) brings this action on behalf of herself and all others
similarly situated (the “Class,” as defined below) against Provide Commerce, Inc. (“Provide

Commerce” or “Defendant”) and alleges on information and belief as follows:

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CLASS ACTION COMPLAINT

 

 
 

 

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INTRODUCTION
1. Plaintiff brings this action for injunctive, declaratory and equitable relief,

damages, restitution and/or disgorgement of profits and additional relief as may be appropriate on
behalf of herself and all others similarly situated (the “Class,” as more specifically described
below), who purchased flowers, gifts or other retail items from one or more of Provide
Commerce’s online retail stores and whose private credit card, debit card or online payment
account (e.g., Paypal) information (collectively, “Private Payment Information”) was improperly
transmitted to Regent Group Inc., d/b/a Encore Marketing International, Inc. (“Encore”) and
whose credit cards, debit cards or online payment accounts (collectively “Private Payment
Accounts”) were charged an activation fee and/or monthly fees for the Easy Saver Reward
Program (“Easy Saver Program” or “Program”) without authorizing that their payment
information be shared, used to enroll in the Easy Saver Program, or charged, from January 1,
2005 to the present. Defendant’s conduct as alleged herein violates the Consumer Legal
Remedies Act, Cal. Civ..Code § 1750, ef seq. (“CLRA”), the Unfair Competition Law, Cal. Bus.
& Prof. Code § 17200, ef seq. (“UCL”), the False Advertising Law, Cal. Bus. & Prof. Code §
17500, et seq. (“FAL”), and common law breach of contract, fraudulent concealment, breach of
the covenant of good faith and fair dealing, conversion, and unjust enrichment. |
THE PARTIES

2. Plaintiff Bobbi Sledge (“Plaintiff”) is and at all relevant times has been a
resident of Dallas, Texas. On or about April 4, 2009, Plaintiff purchased flowers from Defendant
Provide Commerce’s online flower store, ProFlowers, for her personal, family or household use.
During her transaction and for the limited purpose of completing her transaction for the purchase
of flowers, Plaintiff provided Provide Commerce with her credit card and other personal
information, which was unlawfully transmitted to an unauthorized third party, resulting in Easy
Saver charges being charged to Plaintiff's account without her authorization or knowledge.

3. Defendant Provide Commerce is headquartered in San Diego, California.
From its San Diego offices, Provide Commerce operates a number of online retail stores selling

gifts and flowers, including but not limited to ProFlowers, Cherry Moon Farms, Red Envelope,

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1 | Secret Spoon, and Sharri’s Berries. Provide Commerce is an operator of a commercial website or | |
2 || online service that collects personally-identifiable information and Private Payment Information
3 || through its websites and online services from individual consumers who use or visit its sites.
4 JURISDICTION AND VENUE
5 4, This Court has subject matter jurisdiction under 28 U.S.C. § 1332(d)(2)
6 || because, on information.and belief, the amount in controversy exceeds $5,000,000 exclusive of
7 || interests and costs and this is a class action in which the parties are citizens of different states.
8 5. Pursuant to 28 U.S.C. § 1391(b), this Court is the proper venue for this
9 || action because this Court has personal jurisdiction over Defendant Provide Commerce and a
10 | substantial amount of the events giving rise to the claim occurred in this District.
11 FACTUAL ALLEGATIONS
12 6. Defendant Provide Commerce operates a number of online retail stores
13 || selling gifts and flowers for delivery, including but not limited to ProFlowers, Cherry Moon
14 | Farms, Red Envelope, Secret Spoon, and Sharri’s Berries. When a consumer visits any number
15 || of Provide Commerce’s commercial websites to purchase products for delivery, they are asked
16 || for private consumer information, including their name, address and Private Payment Information
17 | to complete the transaction. While completing a transaction on a Provide Commerce website,
18 | Plaintiff and Class members were presented with a promotional advertisement for the “Easy
19 | Saver Rewards Program.” Provide Commerce represented that the offer would include coupons
20 || and savings benefits as a reward for shopping with its online retail sites. Plaintiff and Class
21 || members were asked to enter their email address and zip code and to click on an “Accept” button
22 } toclaim their free coupon and enroll in the Program.
x) 7. Plaintiff and Class members did not elect to enroll in the Easy Saver
24 | Program, did not voluntarily provide their Private Payment Information, and did not authorize
25 || that their Private Payment Information be used in connection with the Easy Saver Program.
26 || Regardless, Provide Commerce transferred Plaintiff's and Class members’ contact and Payment “°
27 || Information to its agent, co-conspirator and partner, Encore. -
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CLASS ACTION COMPLAINT

 

 

 
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1 8. As a result of this wrongful transmission of Private Payment Information,
2 | Plaintiffs and Class members’ Private Payment Accounts were unlawfully charged an “activation
3 | fee” of $1.95 for the Easy Saver Program. Plaintiff and Class members did not authorize such
4 | charges and, in fact, were not aware that they had been enrolled in the Easy Saver Program or that
5 | they were charged any “activation fee” until they received their payment statements, which
6 || indicated a charge was associated with “Easy Saver.” Plaintiff and Class members received no
7 || discount, savings or economic benefit in exchange for the activation fee charged.
8 9. . Thereafter, Plaintiff's and Class members’ accounts continued to be
9 | charged $14.95 on a monthly basis, without authorization, although they had declined the offer to
10 | participate in the Program. Plaintiff and Class members did not receive any discount, savings, or
11 || economic benefit in exchange for the unauthorized charges or as a result of being secretly
12 | enrolled in the Program.
13 10. Provide Commerce effectuated this scheme by unlawfully transmitting
14 || Plaintiff’s and Class members’ Private Payment Information to its agent, co-conspirator and
15 }) partner, Encore, who then unlawfully billed the Private Payment Accounts without authorization.
16 || When Plaintiff and Class members complained about the unauthorized charges, Provide
17 | Commerce falsely insisted that the consumers must have signed up for the Program. When
18 || Plaintiff and Class members have contacted Encore, Encore has admitted that it obtained
19 | Plaintiff's and Class members’ Private Payment Information from Provide Commerce, but also
20.|| falsely insisted that Plaintiff and Class members must have signed up for the Program.
21 11. Inits online privacy policy, Provide Commerce states in pertinent part:
22 Personally Identifiable Information:
23
Personally Identifiable Information might include your name,
24 mailing address, telephone number, mobile phone number, email
address, and other identification and contact information.... We
25 may also collect certain financial information, like your credit card
number... whenever we do so, we will attempt to provide a link to
26 this Policy so that you can confirm how this information will be
used. With this information, we can fill your service and product
27 orders and better provide you with personalized services. You also
may have the option of importing information into certain Sites
28 from third-party software.
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DLS/DIVERSIFIED LEGAL SERVICES, INC 619-260-0316

Except as otherwise stated in this Policy, we do not sell, trade or
rent your Personally Identifiable Information collected on our Sites
to others. The information collected by our Sites is used to process
orders, to keep you informed about your order status, to notify you
of products or special offers that may be of interest to you, and for
statistical purposes for improving our Sites. We will disclose your
Personally Identifiable Information to third parties for tracking
purposes, to charge your credit card (or process your check or
money order, as appropriate), fill your order, improve the
functionality of our Sites, customize our marketing efforts with you
and perform statistical and data analyses, deliver your order and
deliver promotional emails to you from us. These third parties may
not use your Personally Identifiable Information other than to
provide the services requested by us.

12. Provide Commerce knowingly and willfully and/or negligently and
materially violated its online privacy policy. Plaintiff and Class members’ Private Payment
Information constitutes Personally Identifiable Information, as identified in Provide Commerce’s
privacy policy. At all times relevant, Provide Commerce knowingly and willfully transmitted
Plaintiff's and Class members’ Private Payment Information to Encore in violation of its privacy
policy without disclosing its intention or obtaining permission to do so. Provide Commerce had a
duty to keep Plaintiff's and Class members’ Private Payment Information secure. Transmitting
Private Payment Information without authorization constitutes a material breach of the privacy
policy, which assures consumers that their private and payment information will not be given to
third parties without authorization or beyond what is reasonably necessary to fill their orders. |
Limitations on the use and transmission of Personally Identifiable Information, including Private
Payment Information, go to the very core of Provide Commerce’s privacy policy. A reasonable

consumer would find the fact that Provide Commerce transmits customers’ Private Payment

Information to unauthorized third parties, despite its published policy to not do so, material in

deciding whether to provide their Personal Payment Information, particularly where, as here, such
transmission results in unauthorized charges to their Private Payment Accounts from which no
service, discount, savings or economic benefit is derived.

13. Additionally, a reasonable consumer purchasing goods or services online
anticipates that the Private Payment Information they provide will only be used to pay for items

purchased, that they will not be enrolled in an illusory “rewards program” for which they are
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charged but that provides no benefits or savings without their consent, and that Private Payment
Information will not be given to third parties without authorization.

14. Provide Commerce knowingly participated in this scheme and engaged in
this systematic nationwide practice of transferring Private Payment Information without
authorization to Encore, which it knew would lead to unauthorized charges to Plaintiffs and
Class members’ Private Payment Accounts. Provide Commerce operated Easy Saver Program
through its agreements with Encore and profited from the Program at Plaintiff's and Class
members’ expense. In exchange for providing unauthorized information to Encore, Provide
Commerce received an economic benefit and has profited from its wrongful conduct.

15.  Atall times relevant, Provide Commerce misrepresented, concealed and/or
failed to disclose its affiliation and association with Encore. At all times relevant, Provide
Commerce misrepresented, concealed and/or failed to disclose that it would share Plaintiff's and
Class members’ Private Payment Information with unauthorized third parties as a result of
ordering products from its websites. Provide Commerce also misrepresented that the Easy Saver
Rewards Program would provide “great benefits and savings” that it does not provide, and

Plaintiff and Class members received no service, savings or discounts as a result of being

‘unwittingly enrolled.

16. Provide Commerce misrepresented the Program in its advertising and
promotional materials by stating that it was a voluntary program that would only activate when
the consumer affirmatively signs up by clicking the “Acceptance” button, and as a Program that
would provide consumers savings and other economic benefits.

17. At the end of the online order, for example, Provide Commerce offers the
consumer the opportunity to enroll in the Easy Saver Program. Specifically, Provide Commerce

states: “Claim your $15 ‘ProFlowers Gift Code Now” and in the “Offer Details” states:

Activate your membership in EasySaver Rewards™ to claim your $15 Gift Code

good for your next purchase and start saving and enjoying all the benefits and ,
access for the next 30 days for just a $1.95 activation fee billed by EasySaver

Rewards to the credit card or PayPal account you just entered during your

ProFlowers purchase. Please note, by entering your e-mail address and zip code
(“Enrollment Details”) and clicking the Green Acceptance Button, your

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1 Enrollment Details as well as the following information from your most recent
ProFlowers order will be transmitted securely through PGP and SSL encryption to
2 EMI, the EasySaver Rewards Administrator, to be stored and to secure and
3 administer your membership: your name, credit card information or PayPal billing
. ID number, billing address, billing telephone number and order ID number. To
4 continue after the introductory trial period, do nothing and all the great benefits
and savings will automatically continue for just $14.95 per month, billed by
5 EasySaver Rewards to the same credit card or PayPal account where applicable.
6 You may cancel at anytime, with no further obligation, just by calling the toll- free
number contained in the membership information provided to you. And, you
7 keep the $15 Gift Code just for trying EasySaver Rewards for 30 days.
8 The Provide Commerce website goes on: “Claim Your Gift Code Below! Just enter your
9 e-mail address and zip code as your electronic signature and click the green acceptance button
10 below to activate your EasySaver Rewards™™ Membership as described in the offer details on
11 this page”.
12 18. Plaintiff and Class members were enrolled in the Easy Saver Program after
3 declining to join, and they received no benefits or savings as a result. |
14 19. Furthermore, Provide Commerce deceptively represented that Plaintiff and
15: Class members would instantly receive a “gift code” for a rebate or discount on their flower
16 purchase if they enrolled in the Program. Plaintiff and Class members did not receive a gift code
17} oO discount on their purchase upon being involuntarily enrolled in the Program, however,
18 although they were charged an activation fee and incurred subsequent monthly charges. Because
19 Plaintiff and Class members did not affirmatively enroll in the Program and, in fact, declined the
20 offer, they did not receive the promised benefits. Moreover, Plaintiff and Class members did not
24 and could not receive any benefits from the Program unless they discovered that they had been
2 fraudulently enrolled in the Program, demanded a gift code after the fact, and then spent
3 additional money to purchase additional items from the Defendant. Thus, the “gift” and other
74 | Program “benefits” that Defendant purported would flow from Program membership were, and at
25 all relevant times have been, illusory.
26 20. | The above-described representations, omissions and misrepresentations _
27 || were made, directed, authorized, adopted and/or affirmed by Provide Commerce independently
28 and/or in furtherance of its partnership and conspiracy with Encore. At all times relevant, Provide
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. CLASS ACTION COMPLAINT

 

 

 
 

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Commerce maintained control of the information, links and pop-up offers linked to its websites
that relate to the Easy Saver Program. Indeed, the Program relates directly to discounts Provide
Commerce purportedly offers on the products it sells. Thus, Provide Commerce is responsible for
representations and omissions set forth above.

Plaintiff's Experience With Provide Commerce

21. OnApril 4, 2009, Plaintiff purchased flowers from Provide Commerce’s
ProFlowers.com website. To complete her purchase, she provided private consumer information,
including her Private Payment Information, pursuant to Defendant’s posted privacy policy.

22. At the time of her purchase, a pop up screen appeared with a promotional
advertisement to receive $15 dollars off this order. Plaintiff then read the details of the EasySaver
Reward offer and chose not to accept the $15 offer since it required her to enroll in the Easy
Saver Reward Program. Instead, she closed the screen by clicking the “x” in the top right corner
and completed her ProFlowers transaction.

23. On April 7, 2009, Plaintiff was charged a $1.95 activation fee on her credit
card. The fee was attributed to Easy Saver. At no time did she authorize such a charge or enroll
in the Easy Saver Program.

24. Between May and July of 2009, Plaintiff received four Easy Saver charges
on her credit card for $14.95 each. Plaintiff never authorized any such charges, nor did she
receive any benefits, savings or services from Defendant or the Easy Saver Program.

25. Plaintiff did not notice the charges until August 19, 2009.

26. Onor around August 20, 2009, Plaintiff called the 800 number provided on
her credit card statement. The Easy Saver representative denied that the charges were
unauthorized and falsely insisted that Plaintiff must have enrolled in the Easy Saver Rewards
Program through the pop up advertisement screen in order for them to have her credit card
information. Plaintiff was informed that she would have received a “welcome email”
acknowledging her enrollment. Plaintiff received no “welcome email”. When Plaintiff asked the |
Easy Saver agent to provide her with a copy of the email, Easy Saver could not produce a copy or

record of the “welcome email” it purportedly sent.

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CLASS ACTION COMPLAINT

 

 
 

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27. On August 20, 2009, Plaintiff called Provide Commerce via the
ProFlowers number on their website to complain about the charges. She was told she would be |
contacted by phone by a manager who coordinates with the partner companies. She received an
email from a Special Programs Associate in Califomia. The Proflowers Special Programs
Associate again insisted that Plaintiff must have enrolled in the Easy Saver Program. Despite
requests, Provide Commerce was unable to provide any evidence that Plaintiff had enrolled in the
Program. Provide Commerce acknowledged that Plaintiff had not received any discount on any

purchase but that-she had been enrolled in, and charged for, the Easy Saver Program.

Other Class Members’ Experience With Provide Commerce

28. Plaintiff's experience mirrors those of hundreds, if not thousands, of other
Class members. In purchasing their online orders, Class members relied on Defendant’s
misrepresentations that their credit card information would not be misused and that their Private
Payment Information would not be shared. The Internet is replete with references to the common
problems consumers have encountered with Provide Commerce and its Easy Saver scam, as the
following representative complaints appearing on a selection of on-line consumer forums

demonstrate:

I just purchased flowers for Valentine’s Day last week from
ProFlowers. I too had a charge of $1.95 to my credit card this
morning that said EasySaver (Phone number 800-355-1837). I
called and got through to them. They told me that when I purchased
from Pro Flowers that I signed up for Easy Saver Rewards program.
I was not aware of signing up for ANYTHING....

I have been billed by Easy Saver Rewards (EASY SAVER 800-
355-1837 PA) for $14.95 per month since making a purchase on
Proflowers.com. Easy Saver is apparently associated with
ProFlowers and I inadvertently signed up for their ‘services’ while
placing my order. They claim that I requested to be a member when
I replied to an email after placing an order. I do not recall replying
to any email or asking for the service. Obviously, their business
practices are disingenuous at best, since I, and many others, have
been fooled by this blatantly unethical business practice.

... [have been charged 14.95 every month from AT LEAST [Jjuly
by this “easy saver” program. Turns out when [I] ordered my mom
chocolates for mother[’]s day from SECRET SPOON, they took my
information and gave it to these guys. I called the 800 number on
my online statement and she said the only way they could get my
information was if [I] filled in my email and clicked the button

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l saying [I] wanted to do this easy saver thing, which [I] know for a
FACT that [I] didn[’]t do. [S]he also told me that the program was
2 to save me money on my hotels, vacations, etc but how is charging
me 15 bucks a month without my permission saving me
3 money!?!7....
4 [ just got my bank statement with a notice from my bank letting me
know that Easy Sav[e]r has been taking that same 14.95 out of my
5 account for three months but that I should be concerned as this
company has a lot of red flags. I called the bank today as I have
6 never even heard of Easy Sav[{e]r and I have never placed an order
from them for anything. The bank has done a lot of research for me
7 and found out that it was after ordering flowers for [V]alentine[’]s
[D]ay for my aunt these, charges started. Easy [S]av[e]r said that
8 they were an affiliate program of Proflowers.com.
9 Simply wanted to order a fruit basket from CherryMoonFarms
(www.cherrymoonfarms.com) to send to grieving friend and ended
10 up with unauthorized membership to EasySaverRewards
- (www.easysaverrewards.com) aka Encore Marketing International.
11 They billed my credit card used to purchase fruit for $1.95 and then
$14.95 even after I followed their cancellation process to the letter.
12 Cancellation for something I never knowingly agreed to. Do NOT
buy online at Cherry Moon Farms or ProFlowers and save yourself
13 a headache. This is fraud as far as I'm concerned.....
14 I also am disgusted that “Red Envelope[]” would have such a
practice as this! What really upset me was that there was no
15 confirmation of credit card usage. Instead the credit card number
was stolen from the one I had entrusted with Red Envelope for the
16 order I made.
17 What a scam...I called ProFlowers and EasySaver about the three
months of unauthorized. charges to my credit card made by
18 EasySaver. I ordered flowers from ProFlowers and was signed up
for EasySaver. I know I didn’t agree to EasySaver as I never sign
19 up for these kind[s] of things (I don't even know what it is and what
it saves me)....
20
I am the victim of Proflowers / Easy Savers deceptive practice also.
21 I saw several charges from EMI Marketing and Easy Saver on my
credit card. I did not provide my information to either of these
22 companies at the end of my Proflowers order and did not accept the
15% offer, so the information was definitely given without my
23 permission....
24 CLASS ACTION ALLEGATIONS
25 29. Plaintiff brings this class action against Provide Commerce pursuant to
26 | Federal Rule of Civil Procedure 23, on behalf of herself and all persons who are members of the
27 \ following Class and Sub-Class:
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CLASS ACTION COMPLAINT

 

 

 
 

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1 Class: All individuals and entities residing in the United States
who purchased merchandise from a Provide Commerce website, did
2 not affirmatively enroll in the Easy Saver Program, and who
incurred a charge on their Private Payment Account from Easy
3 Saver in connection with their Provide Commerce transaction from
January |, 2005 to the present.
* - Sub-Class: All Class mémbers who are “consumers” as defined by
5 California Civil Code § 1761(d).
6 30. Defendant, Defendant’s affiliates, employees, agents, officers and
7 | directors, and the Judge to whom this case is assigned are excluded from this Class. Plaintiff
g || reserves the right to amend this Class definition if discovery and further investigation reveals that
9 || the Class should be expanded or otherwise modified.
10 31. | Numerosity: The members of the Class are so numerous that joinder of all _
11 || members would be impracticable. While the exact number of Class members is unknown at this
- time, Plaintiff reasonably believes that there are thousands of purchasers whose information was
13 || used by Encore without their authorization. The members of the Class are readily identifiable
14 | from information and records in Defendant’s or third parties’ possession, custody, or control. The
15 | disposition of these claims will provide substantial benefits to the Class.
16 32. | Common Issues Predominate: There are questions of law and fact common
17 || to the members of the Class that predominate over any questions affecting only individual Class
18 || members, including, but not limited to the following:
19 a. Whether Provide Commerce provided Plaintiff's and Class
20 || members’ Private Payment Information to Encore and/or in connection with the Easy Saver
21 | Program;
22 | b. Whether Provide Commerce’s conduct violated its published
23 || privacy policy in violation of California Business & Professions Code § 22576, which requires
24 || any operator of a commercial website to comply with the provisions of its posted privacy policy;
25 c. Whether transmissions of Plaintiff's and Class members’ Private
26 || Payment Information were without authorization;
27 d. Whether such transmissions were knowing and willful;
28 @ Whether such transmissions were negligent;
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f. Whether such transmissions materially violated Provide
Commerce’s published privacy policy;

g. Whether Provide Commerce was unjustly enriched by its unlawful
conduct;

h. Whether Provide Commerce concealed or failed to disclose
material information about the Easy Saver Program and how consumers would be enrolled and
charged for the Program;

i... Whether.Provide Commerce concealed or failed to disclose
material information about the use of Private Payment Information to Plaintiff and Class members
submitted in connection with their purchases on Provide Commerce websites;

j. Whether Defendant violated the CLRA, Cal. Civ. Code § 1750, et
seq.;

k, Whether the privacy policy constitutes a contract between Provide
Commerce, on one hand, and Plaintiff and Class members, on the other;

1. Whether Defendant breached its contracts with Plaintiff and Class
Members;

m. Whether-Plaintiff and the Class are entitled to injunctive relief; and

n.  Whether-Plaintiff and the Class are entitled to damages,

33.  Typicality: Plaintiffs claims are typical of the claims of the members of
the Class. Plaintiff has no interests antagonistic to those of the Class and is not subject to any
unique defenses.

34. Plaintiff will fairly and adequately protect the interests of all members of
the Class and has retained attorneys with the resources and experience in class action and
complex litigation to vigorously prosecute Class claims.

35. Superiority: A class action is superior to all other available methods for the
fair and efficient adjudication of this controversy. Because of the relatively small size of the
individual Class members’ claims, absent a class action most Class members would likely find
the cost of litigating their claims against Provide Commerce to be prohibitive, The class

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treatment of common questions of law and fact is also superior to multiple individual actions or
piecemeal litigation in that it conserves the resources of the courts and the litigants, and promotes
consistency and efficiency of adjudication.

36. The consideration of common questions of fact and law will conserve
judicial resources and promote a fair and consistent resolution of this consumer problem, and no
significant management issues exist with respect to the litigation of this matter.

37. Defendant is a California resident headquartered in California. All
communications, website, sales, customer service and contracts and agreements at issue in this
litigation were made at and emanated from Defendant’s San Diego headquarters. Thus, the acts
and omissions giving rise to Plaintiff's state law claims arose in California. The Class also
includes a significant number of California residents who purchased Defendant’s products in
California. California’s interest in this action and the conduct of corporations doing business in,
contracting and effectuating business decisions in California is, therefore, greater than that of any
other state, and Class members are entitled to application of California law to their claims.
Moreover, Provide Commerce has included a choice of law provision in the terms and conditions
of use published on its website which indicates that any legal action brought by a consumer for
any reason is governed by the laws of the State of California. Accordingly, California law applies

to Plaintiff and Class members’ claims and such application presents no manageability problems.
FIRST CAUSE OF ACTION

(Violations of the Consumer Legal Remedies Act, Cal, Civ. Code § 1750, et seq.)
(On behalf of the Sub-Class)

38. Plaintiff incorporates by reference the allegations contained in the
preceding paragraphs of this Complaint.

39. Defendant is a “person” as defined by Civil Code § 1761(c).

40. Plaintiff and the members of the Sub-Class are “consumers” within the
meaning of Civil Code §1761(d).

41. The flowers and gifts ordered by Plaintiff and Class members from Provide
Commerce constitute “goods” as defined by Civil Code § 1761 (a). |

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CLASS ACTION COMPLAINT

 

 
 

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42. The purported benefits of the Easy Saver Program in which Plaintiff and
Class members were enrolled, including coupons for Defendant’s flowers and gifts, also
constitute “goods” as defined by Civil Code § 1761(a).

. 43. Plaintiff's and Class members’ purchase of the flowers and gifts, and their
unwitting enrollment in and payment for the Program benefits, are “transaction[s]” as defined by
Civil Code § 1761(e).

44. Defendant provided or purported to provide goods to Plaintiff and Class
members by offering a rewards program in connection with the ordering, sale and delivery of the
flowers and gifts on their online retail stores.

45. Venue is proper pursuant to Civil Code § 1780(c) because Provide
Commerce is headquartered and does a significant amount of business in this County. A
Declaration of the Plaintiff establishing this Court as the proper venue for this action is attached
hereto as Exhibit A, as required by applicable law.

46. Provide Commerce violated the CLRA by misrepresenting its affiliation
and association with third parties, including Encore, and by sharing Plaintiff's and Class
members’ private information with unauthorized third parties. Provide Commerce also violated
the CLRA by representing that the Easy Saver Rewards Program would provide benefits it does
not offer because Plaintiff and Class members received no savings or discounts as a result of
being enrolled. Provide Commerce also violated the CLRA by advertising the Easy Saver
Program as a Program that Plaintiff's and Class members could decline, representing the Program
as a voluntary program that would only activate when the consumer affirmatively signs up by
clicking the enroll button, and as a Program that would offer consumer discounts, savings, and
other economic benefits. In fact, Plaintiff and Class members were enrolled in the Easy Saver
Program after declining to join and they received no benefits or savings as a result. Furthermore,
Provide Commerce represented that Plaintiff and Class members would receive a rebate or
discount by enrolling in the Program, although the earning of the benefit was contingent on
Plaintiff and Class members knowingly and actively enrolling in the Program to obtain the
promised coupon. Because they declined the offer, Plaintiff and Class members did not receive a

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1 || discount code or discount on their purchase, but were nonetheless charged an activation fee and
2 || subsequent monthly charges.
3 47. Defendant violated Civil Code § 1770(a)(3) by, inter alia, misrepresenting
and failing to disclose its affiliation, connection or association with, or certification of Encore. .
48. Defendant violated Civil Code § 1770(a)(5) by, inter alia, representing that
the Easy Saver Program had sponsorship, approval or benefits that it did not have by representing
. that enrollment was voluntary and not automatic, and by misrepresenting that Plaintiff and Class

members would receive automatic discounts and savings if enrolled.

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49. Defendant violated Civil Code § 1770(a)(9) by, inter alia, advertising and
10 || marketing the Easy Saver Program as a program in which consumers must voluntarily and

11 || affirmatively join and that membership would result in discounts and savings with the intent to
12 || automatically sign Plaintiff and Class members up for the Program and without selling or

13 || providing them the promised savings and benefits.

14 50. Defendant violated Civil Code § 1770(a)(14) by, inter alia, representing
15 | that the transaction would confer rights and remedies, i.e., the right to decline to join the Easy
16 | Saver Program, which the transaction did not have. In fact, the transaction resulted in Plaintiff
17 || and Class members being enrolled in, and charged for, the Program without authorization.

18 51. Defendant violated Civil Code § 1770(a)(17) by, inter alia, representing
19 | that the consumer would receive a rebate, discount, or other economic benefit, when the earning
20 || of such benefit, if any, was contingent on an event to occur subsequent to the consummation of
21 | the transactions. Indeed, Provide Commerce deceptively represented that Plaintiff and Class

22 || members would receive a gift code “now” if enrolled in the Program. However, Plaintiff and

23 } Class members did not receive a gift code or any rebate or discount on their purchase when they
24 were unwittingly enrolled in the Program and charged an activation fee. Because Plaintiff and
25 || Class members did not affirmatively enroll in the Program and, in fact, declined the offer, they |
26 | could not receive the promised benefits, if any, unless they discovered that they were fraudulently
27 || enrolled in the Program, demanded the gift code after the fact, and were unfairly forced to

28 | purchase additional items from the Defendant.

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CLASS ACTION COMPLAINT

 

 
 

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1 52.  Deféndant engaged in deceptive practices, in violation of the CLRA, that
2 || were designed to induce Plaintiff and the members of the Class to purchase products on Provide
3 || Commerce websites (and provide their Private Payment Information to do so) and to force
4 | Plaintiff and Class members to involuntarily enroll in the Program. Defendant also engaged in
5 || deceptive practices by telling consumers their Private Payment Information would not be
6 || transmitted and then transmitting such information and enrolling them, without authorization, in
7 || an illusory “rewards program.”
8 53. By engaging in the foregoing unfair or deceptive conduct, Defendant
9 || actively concealed and failed to disclose material facts about the Program and its use of Private
10 || Payment Information.
1 1 54. The representations set forth above regarding the Program and Provide
12 || Commerce’s privacy policy are material facts that a reasonable person would have considered
13 | important in deciding whether or not to purchase products on Defendant’s sites. Plaintiff and the
14 | Class justifiably acted or relied upon to their detriment the misrepresentations and/or concealed or
15 | non-disclosed facts as evidenced by their providing the Private Payment Information to
16 || Defendant to complete their purchase while declining to affirmatively enroll in the Program.
17 55.  Defendant’s acts were intended to be deceptive and/or fraudulent.
18 | Specifically, Defendant secretly enrolled Plaintiff and Class members in the Easy Saver Program
19 || and intentionally shared their Private Payment Information with Encore, its business partner,
20 || without authorization. |
21 56. Plaintiff and the members of the Class suffered injury in fact as a direct
22 || result of Defendant’s misleading marketing campaign and/or concealment of material facts in
23 | violation of the CLRA in that they have paid, or will have to pay, fees in connection with the
24 | Easy Saver Program from which they receive no benefits. Had Defendant disclosed the true
25 | nature of the Program and its intention to transmit Private Payment Information to Encore for the
26 | purposes of charging their Private Payment Accounts when no services or benefits are rendered in
27 || exchange, Plaintiff and the members of the Class would have taken steps to further secure or
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CLASS ACTION COMPLAINT

 

 

 

 

 
 

 

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withhold their Private Payment Information and/or would not have purchased products on
Defendant’s sites.

57. To this day, Defendant continues to violate the CLRA by concealing its
affiliation with the Easy Saver Program, by transmitting Private Payment Information without
authorization and misrepresenting and concealing the true nature of the Program.

58. Pursuant to Civil Code § 1782(a), Plaintiff served Defendant with notice of
the alleged violations of the CLRA by certified mail, return receipt requested, on September 24,
2009. A copy of this notice is attached hereto as Exhibit B. If after thirty days of receipt of this
letter, Defendant has failed to adequately address the violations alleged herein, Plaintiff will
amend the Complaint to add a claim for damages under the CLRA.

59. Plaintiff, on behalf of herself and all others similarly situated, demands
judgment against Defendant under the CLRA for injunctive relief as may be appropriate and an
award of attorneys’ fees and costs. |

SECOND CAUSE OF ACTION

(Fraudulent Misrepresentation/Omissions)
(On Behalf Of All Class Members)

60. Plaintiff incorporates by reference the allegations contained in preceding

 

paragraphs of this Complaint.

61. Atal times relevant, Defendant concealed material information about the
Easy Saver Program from Plaintiff and Class members. Defendant failed to disclose that Plaintiff |
and Class members would be enrolled in the Program regardless of whether they clicked the
acceptance button. At the same time, Defendant made affirmative representations on its website
when Plaintiff and Class members were processing their purchases, that the Program was optional
and that the acceptance button would have to be selected to be enrolled. Defendant also
concealed the material fact that it was transmitting Plaintiff's and Class members’ Private
Payment Information to Encore in connection with the Program without authorization. At the
same time, Defendant made affirmative representations to Plaintiff and Class members at the
point of sale and in its privacy policy that Private Payment Information would not be transmitted

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or used without authorization beyond what was necessary to fill the customer’s original order.
Defendant further concealed and/or failed to disclose that Plaintiff and Class members’ Private
Payment Accounts would be charged an Easy Saver activation fee or monthly. fees regardless of
whether they declined the offer to join. To the contrary, Defendant misrepresented to Plaintiff
and Class members that the Program was optional when it presented the offer to Plaintiffand -
Class members at the time of their purchase, and represented that they would have to
affirmatively enroll by providing additional information and clicking the “acceptance” button.
Defendant further misrepresented to Plaintiff and Class members at the point of sale that they
would have to affirmatively enroll in the Program to be charged. Defendant also failed to
disclose material information regarding the Program itself, including, but not limited to, the fact .
that the Program did not provide any savings or benefits and that consumers would be charged
monthly regardless of whether they used, or even affirmatively enrolled, in the Program. Instead,
Defendant affirmatively misrepresented that, if enrolled, Plaintiff and Class members would
immediately receive a “gift code” and that “benefits and savings will automatically continue.”
Plaintiff and Class members were unwittingly enrolléd in the Program, but did not receive the gift
code at the time of their purchase and/or other benefits or savings as a result of being enrolled in
the Program. Defendant also concealed and failed to disclose that it was financially benefiting
from its partnership with Encore, instead misrepresenting the offer as a “gift.” These
misrepresentations and omissions were made by Provide Commerce and/or by Encore acting with
Provide Commerce’s authorization and on its behalf, while Plaintiff and Class members were
processing and completing their Provide Commerce transactions.

62. The concealed information is material in that a reasonable consumer would
find information important when deciding whether to purchase products from an Encore website.
Had the concealed information been disclosed to Plaintiff and Class members, they would have
acted differently, by either not providing Defendant with their Personal Payment Information or
acting to cancel their membership before they were charged.

63. Plaintiff and Class members were unaware that by declining the Easy Saver
Program offer that Provide Commerce would provide their Private Payment Information to

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CLASS ACTION COMPLAINT

 

 
 

 

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1 |) Encore or that their Payment Accounts would be charged as a result because Defendant concealed |
2 || the material information as alleged above. |
3 64. Plaintiff and the Class justifiably acted or relied upon to their detriment the
4 | omissions and misrepresentations that their Private Payment Information would not be
5 | transmitted, as evidenced by the fact that they gave Provide Commerce their Private Payment
6 | Information to complete their purchase, but did not authorize, in fact declined, any offer that their
7 | Private Payment Information transmitted to Encore or their accounts charged in connection with
8 | the Easy Saver Program.
9 65. Defendant was and continues to be under a duty to Plaintiff and the Class
10 || to disclose these facts because: |
11 a. Defendant is in a superior position to know the truth about the Easy |
12 || Saver Program and its business practice of transmitting Private Payment Information to Encore;
13 b. Defendant made partial disclosures and representations as alleged |
| 14 || above about the Program and about its policies regarding use of consumers’ Private Payment
15 Information; and
16 c. Defendant actively concealed from Plaintiff and the Class the true
‘17 || nature of the Program and its true practices with respect to the use of Private Payment
18 || Information.
19 66. Defendant intentionally represented and concealed from and/or failed to
20 | disclose to Plaintiff and the Class the facts described above with the intent to defraud Plaintiff and
21 | Class members, and for the purpose of inducing Plaintiff and the Class to provide their Private
22 || Payment Information, which was later transmitted to Encore to involuntarily enroll Plaintiff and
23 || Class members in the illusory Program. By concealing this material information, Defendant
24 || sought to ensure that Plaintiff and Class members would complete their transaction on the
25 | Provide Commerce website while allowing it to still profit by giving that information to Encore
26 | without authorization to enroll Plaintiff and Class members in the sham Program. Defendant
27 || knew that Plaintiff and Class members would not have provided their Private Payment
28 || Information to Encore if all material information was disclosed because Plaintiff and Class
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CLASS ACTION COMPLAINT

 

 

 
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members declined to participate in the Program. Despite this, Defendant completed their
transactions with Plaintiff and Class members, fraudulently enrolled them in the Easy Saver
Program and unlawfully transmitted Plaintiff and Class members’ Private Payment Information to
Encore.

67. | Had Defendant disclosed that it intended to transmit Plaintiff's and Class
members’ Private Payment Information to third parties without their permission and that their
Private Payment Accounts would be charged asa result, Plaintiff and Class members would have
taken additional steps to secure their accounts, would not have provided their Private Payment
Information and/or purchased products from Provide Commerce. °

68. As.adirect and proximate cause of Defendant’s misconduct, Plaintiff and
the Class members have suffered actual damages in that they have paid activation and monthly
fees without receiving any benefits, discounts or savings.

69.  Defendant’s misconduct has been and is wanton and/or reckless and/or
shows a reckless indifference to the interests of others.

| 70. Plaintiff, on behalf of herself and all others similarly situated, demands
judgment against Defendant for actual and punitive damages for herself and each member of the

Class, plus attorneys’ fees for the establishment of a common fund, interest, and costs.
THIRD CAUSE OF ACTION
(Breach of Contract)
‘(On Behalf Of All Class Members)

71. Plaintiff incorporates by reference the allegations contained in the
preceding paragraphs of this Complaint.

72. As part of its terms of conditions of use, Provide Commerce states that its
privacy policy applies to any consumer using any one of its websites and that the privacy policy is
a legally binding agreement. The privacy policy sets forth Provide Commerce’s obligations to
Plaintiff and Class members with respect to handling of their Private Payment Information.

73. Defendant drafted the terms and conditions of use and the privacy policy —

posted on its website and did not allow Plaintiff or the Class members any opportunity to make

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CLASS ACTION COMPLAINT

 

 

 

 

 
 

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changes to the policy or terms and conditions. As such, the policy and terms of conditions are
contracts of adhesion.

74, Plaintiff and Class members did everything required of them in completing
their transactions with Provide Commerce.

75. Defendant agreed that it would not share or transmit the Private Payment
Information Plaintiff and Class members provided to complete their purchases without
authorization. Defendant breached this agreement by transmitting Plaintiff's and Class members’
Private Payment Information to Encore without authorization. Defendant also breached its
agreement by assuring consumers that they would not be enrolled in the Easy Saver Program
without giving explicit permission. In fact, Plaintiff and Class members declined to join, but
were enrolled and charged for the Program anyway.

76.  Asaresult of Défendant’s breach of its agreement, Plaintiff and the Class
members have suffered harm. Plaintiff's and Class members’ credit and debit cards or online
payment accounts were charged an unauthorized activation fee and/or subsequent monthly
charges.

77. Plaintiff and members of the Class seek declaratory relief, compensatory
damages proximately caused by Defendant’s breach of contract, pre-judgment interest, costs of

suit and other relief as the Court deems just and proper.
FOURTH CAUSE OF ACTION

(Breach of the Covenant of Good Faith And Fair Dealing)
(On Behalf Of All Class Members)

78. Plaintiff incorporates by reference the allegations contained in the
preceding paragraphs of this Complaint.
| 79. Defendant entered into a contract with Plaintiff and Class members based
on representations Defendant made directly and indirectly to Plaintiff and the Class members in
its privacy policy and terms of conditions and on its website at point of sale regarding whether

Private Payment Information would be transmitted to Encore and, if so, under what conditions.

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1 80. Plaintiff and Class members did everything the contracts and agreements

2 || required of them. Specifically, they provided their Private Payment Information for the limited

3 | purpose of completing their purchases on the Provide Commerce website and declined offers to
_4 |) enroll in the Easy Saver Program or to have their information transmitted to Encore for any

5 | reason. Thus, all conditions had been met to allow Defendant to perform in compliance with the

6 | contracts. .

7 81. Defendant unfairly interfered with Plaintiff's and Class members’ rights to

8 || receive the security and privacy benefits they were entitled to under the contract. Indeed,

9 | Defendant expressly represented to Plaintiff and the Class members that they would only use their
10 || Private Payment Information for purposes of completing their selected purchase on the Provide
11 |) Commerce website and that their Private Payment Information would neither be used for other
12 | purposes nor shared with unauthorized nonparties, including Encore. Defendant also expressly
13 | represented that consumers would only be enrolled in the Easy Saver Program if they explicitly
14 |} agreed to do so.

15 82. In violation of its agreements and representations, Defendant provided
16 || Plaintiff's and Class members’ private consumer information, including their Private Payment
17 | Information, to Encore without authorization, thereby unfairly denying Plaintiff and Class
18 || members of the security benefits to which they were entitled. As such, Defendant failed to act in
19 || good faith to further. its economic interests and at the expense of Plaintiff and Class members.
20 83. Plaintiff and Class members suffered harm and were damaged as the direct
21 || and proximate cause of Defendant’s misconduct in that their Private Payment Accounts were
22 | wrongfully charged fees for a Program in which they declined to enroll.
23 84. Plaintiff and members of the Class seek judgment against Defendant for
24 || compensatory and punitive damages and declaratory relief along with pre-judgment interest, costs
25 || of suit and other relief as the Court deems just and proper.
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CLASS ACTION COMPLAINT

 

 
 

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FIFTH CAUSE OF ACTION

(Negligence) .
(On Bebalf Of All Class Members)

85. Plaintiff incorporates by reference the allegations contained in preceding

 

paragraphs of this Complaint.

86.  Atall times relevant, Defendant owed a duty of care to Plaintiff and Class
members to not transmit their Private Payment Information to third parties without explicit
authorization. At all times relevant, Defendant also owed a duty of care to Plaintiff and Class
members to ensure that the Private Payment Information provided to it was only used for
specifically-authorized charges.

87. Defendant breached its duty of care by transmitting Plaintiff and Class

members’ Private Personal Information to Encore without ensuring that Plaintiff and Class

‘members had affirmatively authorized such transmission. Defendant breached its duty of care by

enrolling Plaintiff and Class members in the Easy Saver Program without their permission.
Defendant further breached its duty of care by failing to keep Plaintiff's and Class members’
Private Payment Information secure and allowing unauthorized charges be made to Plaintiff and
Class members’ Private Payment Accounts in connection with the Easy Saver Program.

88.  Asadirect and proximately cause of Defendant’s misconduct, Plaintiff and
Class members were damaged in that they were charged for Easy Saver activation and monthly
fees that were not authorized.: Plaintiff and Class members did not receive any discount, service
or benefit from being secretly enrolled ‘in the program. Had Defendant not provided Private
Payment Information to Encore without permission and not allowed Plaintiff's and Class
members’ Private Payment Accounts to be charged for services they neither requested nor used,
Plaintiff and Class members would not have been damaged.

89. . Plaintiff and members of the Class seek declaratory relief and all damages
proximately caused by Defendant’s negligence pre-judgment interest, costs of suit and other relief

as the Court deems just and proper.

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CLASS ACTION COMPLAINT

 

 
 

 

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SIXTH CAUSE OF ACTION

(False Advertising Law, Bus. & Prof. Code § 17500, et seq.)
(On Behalf Of All Class Members)

90. Plaintiff incorporates by reference the allegations contained in preceding
paragraphs of this Complaint.

91. Provide Commerce has falsely advertised, marketed and sold to the public
a variety of products with the understanding that Private Payment Information provided by
consumers to effectuate those transactions will not be transmitted to nonparties without
authorization unless reasonably necessary to complete the transaction.

92. Provide Commerce has also falsely advertised and marketed the purported
benefits of the Easy Saver Program, including, but not limited to, promising that consumers will
receive instantly receive a gift code for a discounted if they are enrolled it the Easy Saver
Program and that “great benefits and savings” automatically flow from Program membership.

| 93. Provide Commerce has also falsely advertised and marketed the Easy

Saver Program as being voluntary and that consumers will not be enrolled or charged unless they
affirmatively accept the offer.

| 94. Provide Commerce has disseminated and engaged in unfair, deceptive,
untrue or misleading advertising on its'websites when it falsely represented, through its
advertising, marketing, and other express representations, that enrollment in the Easy Saver
Program was voluntary, would result in savings and benefits and would result in a savings on the
consumer’s current purchase.

| 95. Defendant disseminated the false and misleading advertisements and
statements to either directly or indirectly induce members of the public, including Plaintiff and
the Class members, to provide their Private Payment Information to purchase items on Provide —
Commerce websites and enroll them in the Easy Saver Program |

96.  Defendant’s advertisements and marketing statements were false,
misleading and/or deceptive, and are likely to deceive the public. Defendant failed to disclose
that it would transmit Plaintiff's and Class members’ Private Payment Information to Encore or

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1 | that their accounts would be charged without authorization. Defendant failed to disclose that the
2 || Easy Saver Program does not offer Plaintiff and Class members promised benefits and services.
3 | Defendant also posted a false and misleading privacy policy and failed to disclose that it did not
4 || adhere to its own published privacy policies. As a result of these deceptive advertising and
5 | marketing statements, Plaintiff and Class members suffered an injury in fact and lost money, as
6 | they were charged activation and/or monthly fees in connection with a program in which they did
7 | not enroll and from which they received no benefits.
8 97. Plaintiff, on behalf of herself and for all others similarly situated, demands
9 || judgment against Defendant for restitution, disgorgement, injunctive relief, and all other relief
10 | afforded under Business & Professions Code § 17500, plus interest, attorneys’ fees and costs.
1 SEVENTH CAUSE OF ACTION
12 (Unjust Enrichment)
13 . (On Behalf Of All Class Members)
14 98. Plaintiff incorporates by reference the allegations contained in preceding
15 | paragraphs of this Complaint. |
16 99, _ By its wrongful acts and omissions described herein, including but not
17 || limited to (a) selling products on its websites without honoring the privacy policy that purports to
18 || govern such transactions, (b) representing that Plaintiff and Class members would receive a
19 | discount on the current purchase if enrolled in the Easy Saver Program, and (c) enrolling Plaintiff
20 | and Class members in the Easy Saver Program without authorization, Defendant was unjustly
21 | enriched at the expense of Plaintiff and the Class.
22 100. It would be inequitable for Defendant to retain the profits, benefits, and
23 | other compensation obtained from its wrongful conduct as alleged herein.
24 101. Plaintiff on behalf of herself and all others similarly situated, seeks
25 || restitution from Defendant, and an order of this Court proportionally disgorging all profits,
26 || benefits, and other compensation obtained by Defendant from its wrongful conduct.
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EIGHTH CAUSE OF ACTION

(Conversion)
(On Behalf Of All Class Members)

102. Plaintiff incorporates by reference the allegations contained in preceding
paragraphs of this Complaint.

103. Plaintiff and Class members had a right to retain the moneys taken from
their Private Payment Accounts when they were enrolled in the Easy Saver Program without
authorization. Plaintiff and Class members also have a right of ownership and possession of their
own Private Payment Information. __

104. Defendant wrongfully converted the funds it fraudulently obtained as a
result of enrolling Plaintiff and Class members in the illusory Easy Saver Program without
authorization. Defendant also wrongfully converted Plaintiff's and Class members’ Private
Payment Information, which was provided for a limited purpose and used beyond the scope of
what was authorized. .

| 105. Asaresult of Defendant’s wrongful conversion, Plaintiff and Class
members were damaged because their Private Payment Accounts were charged for unauthorized
fees and monthly payments and their Private Payment Information was disseminated to
unauthorized third parties, |

106. Plaintiff, on behalf of herself and all others similarly situated, demands
judgment against Defendant for damages arising from its misconduct, along with pre-judgment
interest, costs of suit and other relief this Court deems appropriate.

NINTH CAUSE OF ACTION

(Violations of the Unfair Competition Law, Bus & Prof Code § 17200, et seq)

(On Behalf Of All Class Members)
107, Plaintiff incorporates by reference the allegations contained in the

 

preceding paragraphs of this Complaint.
108. Business & Professions Code § 17200 prohibits acts of “unfair
competition,” including any “unlawful, unfair or fraudulent business act or practice.”

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Defendant’s conduct, as described above, is unlawful, unfair or fraudulent in violation of the
statute.

109. Defendant’s acts and practices are unlawful because they violate California
Civil Code §§ 1572, 1668, 1709, 1710, 1770(a)(3), 1770(a)(5), 1770(a)(9), 1770(a)(14) and/or
1770(a)(17), as described above.

110. Defendant’s acts and practices are unlawful because they violate California
Business & Professions Code § 22576. Defendant is an operator of a commercial website that
collects personally identifiable information through its website from’consumers. Class members
include consumers who used or visited the commercial website who reside in all fifty states,
including California. Defendant violated its posted privacy policy by sharing personal payment
information with Encore without authorization beyond what was necessary to complete Plaintiff's
and Class members’ orders and permitted Encore to charge Plaintiff's and Class members’
Private Payment Accounts without authorization.

111. Defendant’s acts and practices are also unlawful because they violate
§17500 of the Business and Professions Code and common law as alleged above.

112. Defendant violated the Unfair Business Practices Act, Business &
Professions Code § 17200, et seq., by fraudulently misrepresenting and concealing from and/or
intentionally failing to disclose to Plaintiff and the Class the true facts about its business practice
of transmitting Private Payment Information without authorization and the Easy Saver Program,
as alleged herein. |

113. Defendant violated the Unfair Business Practices Act, Business &
Professions Code § 17200, et seg., by breaching their contracts with Plaintiff and Class members.

114. Defendant violated Unfair Business Practices Act, Business & Professions
Code § 17200, et seg., by breaching the covenant of good faith and fair dealing.

115. Defendant’s conduct was fraudulent in violation of the Unfair Business
Practices Act, Business and Professions Code § 17200, et seq., in that Defendant actively
misrepresented in, and/or concealed and omitted from, its advertising, marketing and other
communications, material information about the Easy Saver Program and its policies with respect

-27-

 

CLASS ACTION COMPLAINT

 

 
 

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9/24 @ DLS/DIVERSIFIED LEGAL SERVICES, INC 260-0316
1 || to the use of private consumer information, including Private Payment Information, in a manner
2 || that has deceived and is likely to continue to deceive consumers and the public. Plaintiff relied on
3 | these misrepresentations and omissions when providing Defendant with her Private Payment
4 1 Information and purchasing products on Defendant’s website and, as a result, suffered an injury
5 | in fact and lost money. .
6 116. Defendant violated the Unfair Business Practices Act, Business &
7 || Professions Code § 17200, et seq., by, inter alia, representing to Plaintiff and Class members that
8 | their Private Payment Information would be secure and not transmitted to unauthorized parties,
9 | while knowing that the information would be transmitted to Encore without explicit authorization.
10 117. Defendant also violated the Unfair Business Practices Act, Business and
11 || Professions Code § 17200, et seq., by, inter alia, representing that Plaintiff and Class members
12 || who were enrolled in the Easy Saver Program would immediately receive a discount code and
13 | that they would receive discounts and savings their purchasers. Plaintiff and Class member were
14 || unwittingly enrolled in the Program, but did not receive the promised discounts, savings or other
15 || benefits.
16 118. Defendant’s conduct was unfair in violation of the Unfair Business
17 || Practices Act, Business and Professions Code § 17200, et seq., because, inter alia, the injury to
18 | Plaintiff and Class members by Defendant’s conduct greatly outweighs any alleged
19 | countervailing benefit to consumers or competition under all of the circumstances.
20 119. To this day, Defendant continues to violate the Unfair Business Practices
21 | Act by continuing to misrepresent and actively conceal material information regarding the Easy
' 22 | Saver Program, the benefits it offers, and its own privacy policies and practices. -
23 120. As a direct and proximate cause of Defendant’s violation of the Unfair
24 || Business Practices Act, Plaintiff and the Class have suffered injury in fact and lost money in that
25 || their Private Payment Accounts were charged for services and benefits they did not receive.
26 | 121. Asaproximate result of Defendant’s violation of the Business and
27 | Professions Code § 17200, et seg., Defendant has been unjustly enriched and should be required
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CLASS ACTION COMPLAINT

 

 
 

 

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DLS/DIVERSIFIED LEGAL SERVICES, INC

to make restitution to Plaintiff and the Class and/or disgorge their ill-gotten profits pursuant to:
Business & Professions Code § 17203. .

122. Plaintiff, on behalf of herself and all others similarly situated, demands
judgment against Defendant for injunctive relief, restitution, and/or proportional disgorgement of
profits earned as a result of the conduct alleged herein, including promised discounts and savings
that were not given, along with interest, attorneys’ fees and costs pursuant to, inter alia, Cal.
Code Civ. Proc. § 1021.5.

PRAYER FOR RELIEF
WHEREFORE, Plaintiff, on behalf of herself and the members of the Class and Sub-
Class, demands judgment against the Defendant as follows:
a An order certifying the Class and any appropriate subclasses and
designating Plaintiff as the Class Representative and Plaintiff's counsel as Class Counsel;

b. Restitution and disgorgement to the extent permitted by applicable
law, together with interest thereon from the date of payment, to the victims of such violations;

c. Monetary damages, including, but not limited to any compensatory,
incidental or consequential damages commensurate with proof at trial for the acts complained of
herein; |

d. Punitive damages in accordance with proof and in an amount
consistent with applicable precedent;

e. Injunctive and declaratory relief;

f. A declaration that Defendant is financially responsible for notifying

all Class members of the pendency of this action;

g. Reasonable costs and attorneys’ fees;

h. Statutory pre-judgment interest; and

i. All other relief the Court deems just and appropriate.
DEMAND FOR JURY TRIAL

Plaintiff, on behalf of herself and the Class members, demands a jury trial in this action

for all of the claims so triable.

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CLASS ACTION COMPLAINT

 

 
 

 

 

 

 

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9/24 6 DLS/DIVERSIFIED LEGAL SERVICES, INC 619-260-0316
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Dated: September 24, 2009 ANDRUS ANDERSON LLP
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13 mhutts@baronbudd.com
bsteckle@baronbudd.com
14
Attorneys for Plaintiff and the Proposed
15 Class —
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CLASS ACTION COMPLAINT

 

 

 
 

 

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EXHIBIT “A”

EXHIBIT “A” |

 
 

 

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Attorneys for Plaintiff and the Proposed Class

UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF CALIFORNIA

BOBBI SLEDGE, on behalf of herself and all Civil Case No.:
others similarly situated,

a DECLARATION OF BOBBI SLEDGE
Plaintiff, PURSUANT TO CAL. CIV, CODE

1780(c

v.
PROVIDE COMMERCE, INC.,

Defendant.

 

 

I, Bobbi Sledge, declare as follows:

1, I am the named plaintiff in this litigation.

2, I have personal knowledge of the matters set forth below except as to those matters
stated herein which are based on information and belief, which matters I believe to be true.

3, If called as a witness I could and would testify competently to these matters herein

 

 

-l- DECLARATION OF BOBBI SLEDGE

 

 
 

 

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LS/DIVERSIFIED LEGAL SERVICES, INC ©

I am informed and believe that venue is proper in this court under Civil Code

1780(c) based on the fact that, on information and belief, Defendant Provide Commerce is

headquartered in and does business in San Diego County and within this judicial district.

I declare under penalty of perjury under the laws of the state of United States that the

foregoing is true and correct and that this declaration was executed on September AA 2009 in

Dallas, Texas.

 

 

 

-2- ‘ DECLARATION OF BOBBI SLEDGE

 

 
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EXHIBIT “B”

EXHIBIT “B”

 

 
 

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ANDRUS 8% ANDERSON LLP

September 24, 2009

Via Certified Mail, Return Receipt Requested

William Strauss, CEO and Director William Strauss, CEO and Director

Provide Commerce, Inc. Provide Commerce, Inc.
(San Diego Headquarters) (Corporate Address)

4840 Eastgate Mall 5005 Wateridge Vista Drive
San Diego, California 92121 San Diego, CA 92121

RE: Notice of Violations of Consumer Legal Remedies Act and Demand

Dear Mr. Strauss,

Pursuant to California Consumer Legal Remedies Act, Cal. Civ. Code § 1750 et seg. (“CLRA”),
and specifically § 1782(a)(1)(2), Bobbi Sledge (‘Plaintiff’) on behalf of herself and all others similarly
situated, and through the undersigned counsel, hereby notify you that Provide Commerce, Inc. (“Provide
Commerce”) has violated California Civil Code § 1770 by misrepresenting its affiliation and association
with third parties, including the Regent Group Inc., d/b/a Encore Marketing International, Inc.
(“Encore”), and by sharing Plaintiff's and putative Class members’ private information with
unauthorized third parties.

- Specially, our investigation has revealed the following. Provide Commerce improperly
transmitted Plaintiff's and Class members’ private credit card, debit card or online payment account
(e.g., Paypal) information (collectively, “Private Payment Information”) to Encore, without their
authorization, after Plaintiff and Class members’ purchased flowers, gifts or other retail items for
delivery from one or more of Provide Commerce’s online retail stores. Provide Commerce improperly
represented that the Easy Saver Rewards Program would provide benefits it does not offer because
Plaintiff and Class members received no savings or discounts as a result of being enrolled. Provide
Commerce advertised the Easy Saver Program as a Program that Plaintiff's and Class members could
decline, representing the Program as a voluntary program that would only activate when the consumer
affirmatively signs up by clicking the enroll button, and as a Program that would offer consumer
discounts, savings, and other economic benefits. In fact, Plaintiff and Class members were enrolled in
the Easy Saver Program after declining to join and they received no benefits or savings. Furthermore,
Provide Commerce represented that Plaintiff and Class members would receive a rebate or discount by
enrolling in the Program, although the earning of the benefit was contingent on Plaintiff and Class
members actively enrolling in the Program to obtain the promised coupon. Because they declined the
offer, Plaintiff and Class members did not receive a discount on their purchase, but were nonetheless
charged an activation fee and subsequent monthly charges.

 

155 Montgomery Street : Suite 900 - San Francisco, California 94104
T: 415.986.1400 : F: 415.986.1474 - lori@andrusanderson.com

 
 

 

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| 9/24 e DLS/DIVERSIFIED LEGAL SERVICES, INC 619-260-0316

Provide Commerce, Inc.
September 24, 2009
Page 2

. The aforementioned conduct violates the CLRA in several respects.

I. Provide Commerce violated Civil Code § 1770(a)(3) by misrepresenting and failing to
disclose its affiliation, connection or association with, or certification of Encore.

2. Provide Commerce violated Civil Code § 1770(a)(5) by, inter alia, representing that the
Easy Saver Program had sponsorship or approval or benefits that it did not have by representing that
enrollment was voluntary and not automatic and by misrepresenting that Plaintiff and Class members
would receive discounts and savings if enrolled.

3. Provide Commerce violated Civil Code § 1770(a)(9) by, inter alia, advertising and
marketing the Easy Saver Program as a program in which consumers must voluntarily and affirmatively
join and that membership would result in discounts and savings with the intent to automatically sign
Plaintiff and Class members up for the Program and without sending them the promised savings and
benefits.

4. Provide Commerce violated Civil Code § 1770(a)(14) by, inter alia, representing that
the transaction would confer rights and remedies, i.e., the right to decline to join the Easy Saver
Program, which the transaction did not have. In fact, the transaction resulted in Plaintiff and Class
members being enrolled in, and charged for, the Program without authorization.

5.  - Provide Commerce violated Civil Code § 1770(a)(17) by, inter alia, representing that
Plaintiffs and Class members would receive a rebate, discount, or other economic benefit when the
earning of any benefit, if any, was contingent on an event to occur subsequent to the consummation of
the transactions. Indeed, Provide Commerce deceptively represented that Plaintiff and Class members
would receive a gift code “now” if enrolled in the Program. However, Plaintiff and Class members did
not receive a gift code or discount on their purchase when they were unwittingly enrolled in the Program
and charged an activation fee. Because Plaintiff and Class members did not affirmatively enroll in the
Program, and, in fact, declined the offer, they could not receive the promised benefits, if any, unless they
discovered that they were fraudulently enrolled in the Program, demanded the gift code after the fact,
and purchased additional items from Provide Commerce. Plaintiff and Class members were enrolled

' and charged without their knowledge or consent, but to earn a benefit or discount, if any, they would
unfairly be forced to make an additional purchase.

This Notice is being served on behalf of Plaintiff and all similarly-situated consumers, who
hereby demand that Provide Commerce correct or rectify the illegal conduct alleged herein, that
' Provide Commerce cease and desist from the conduct described herein, notify all consumers whose
Private Payment Information has been illegally transmitted to Encore and reimburse Plaintiff and all
other similarly-situated consumers for all. amounts that were improperly charged to them as a result.

We have sent this letter directly to you in order to fully comply with the requirements of
California Civil Code § 1782. We, of course, hope that you will act immediately to rectify this
situation and stand ready to discuss a reasonable resolution of this matter on the terms outlined above
or on similar terms acceptable to Plaintiff and similarly-situated consumers.

v

 

 
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Case peewee" Document 1 Filed 09/24/09 eq ° ‘age 37 of 39
9/24 DLS/DIVERSIFIED LEGAL SERVICES, INC 260-0316 ,

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Provide Commerce, Inc.
September 24, 2009
Page 3

If you have any questions, require any additional information or would like to discuss these
matters, please do not hesitate to contact me.

/. truly ” 2

Lori E. Law E .

 
Case, 3:09-cv-02094-BAGAWVG . DOCUMENT de aif RA QU 4qL09 “PagelD.38 Pagsed eae 39
CIVIL COVER SHEET

The JS 44 civil cover sheetand the information contained herein neither replace nor supplement the filing and service of, pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference o the United States in September 1974, is required for the use ofthe GlerkofCourt for the purpose of initiating
the civil docket sheet, (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.) jes 2

I. (a) PLAINTIFFS
Bobbi Siedge

JS 44 (Rev. 12/07)

= H Pune

DEFENDANTS

Provide Commerce Zit) SEP 24 PH 3: 06

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County of Residence of First L:igled Defendant - cos
¢: (IN.U.S. PLAINTIFF CASES ONLY)

‘ NOTE: IN LAND CONDEMNATION CASES} ATION OF THE
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Attomeys (If Known)

   

(b) County of Residence of First Listed Plaintiff Dallas County, Texas

California
(EXCEPT IN US. PLAINTIFF CASES) ‘
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(c) Attorney’s (Firm Name, Address, and Telephone Number)

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Andrus Anderson LLP, 155 Montgomery St, Ste 900, San
Francisco, CA 94104, (415) 986-1400

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Il. BASIS OF JURISDICTION = (Place an “X" in One Box Only) Wl. CITIZENSHIP OF PRINCIPAL PARTIES (sce an “x” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
OI U.S. Government O 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State O 1 © 1 _ Incorporated or Principal Place o4 m4
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IV. NATURE OF SUIT (Place an “x” in One Box ‘ .
CONTRACT — ioe — | PENALTY [. [OTHER STATUTES]
110 Insurance PERSONAL INJURY PERSONAL INJURY [0 610 Agriculture C1 422 Appeal 28 USC 158 O 400 State Reapportionment
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©) 210 Land Condemnation 0 441 Voting [$10 Motions to Vacate }|0 790 Other Labor Litigation O 870 Taxes (U.S. Plaintiff QO 893 Environmental Matters
OG 220 Foreclosure OG 442 Employment Sentence 0 791 Empl. Ret. Inc. or Defendant) 894 Energy Allocation Act
(7 230 Rent Lease & Ejectment {0 443 Housing/ Habeas Corpus: Security Act 0 871 IRS—Third Party GO 895 Freedom of Information
O 240 Torts to Land Accommodations 530 General 26 USC 7609 Act
O 245 Tort Product Liability O 444 Welfare ( 535 Death Penalty IMMIGRATION O 900Appeal of Fee Determination
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Employment If} 550 Civil Rights Ch 463 Habeas Corpus - to Justice
(J 446 Amer. w/Disabilities- [0 555 Prison Condition Alien Detainee O 950 Constitutionality of
Other O 465 Other Immigration State Statutes
O 440 Other Civil Rights Actions
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Proceeding State Court Appellate Court Reopened oat Litigation Magistrate

 

VI. CAUSE OF ACTION

Cig ths us Fig fay" under which you are filing (Do not cite jurisdictional statutes unless diversity):

Judgement

 

Brief description of cause

 

CLIKA; Fraud; Breach ot Contract; Breach Good Faith; Neg.; FAL; Unjunst Enrich.; Conversion; UCL

 

 

 

 

 

 

Vil. REQUESTED IN W CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER F.R.C.P. 23 TBD JURY DEMAND: @ Yes No
VIII. RELATED CASE(S) ee i ao.
IF ANY (See instructions): UDGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
09/24/2009 Jennie Lee Andersen
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FILE BY FAX

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Division: 3 .
Recetpt Number: CASO05614

' Cashier ID: msweaney

: Transaction Date: 09/24/2009

: Payer Name: DIVERSIFIED LEGAL SERVICES

 

, CIVIL FILING FEE

. For: BOBBI SLEDGE y PROVIDE COMMERC
Case/Party: D-CAS~3-09-CV-002094-001
Amount : $350.00

 

_ CHECK
Check/Money Order Num: 0045155
Ant Tendered: $350.00

 

Total Due: $350.00
Total Tendered: $350.00
Change Amt: $0.00

. There will be a fee of $45.00
s charged for any returned check .

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